                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:12-00159
                                                     )       JUDGE CAMPBELL
ANGELA CARMARDA                                      )

                                             ORDER

        Pending before the Court is a Motion to Continue Plea Date and in the Alternative Trial Date

(Docket No. 59).

        The plea hearing currently scheduled for July 1, 2013, is CANCELLED.

        Any plea hearing will be held in accordance with the Order (Docket No. 52) entered on June

26, 2013.

        It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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